
Morgan, J.,
dissenting.
The conclusion of a majority of my associates does not satisfy me as being just between the parties to this contract of insurance, measuring up to what is right between them; and if it is not right, it is not just. It enforces a forfeiture of all rights of the widow, because she did not get the notice of the death to the proper officer of the order within the ten days provided by the by-laws, although the notice was mailed in time to have reached him and was delayed by reason of a mistake in the address, and did not reach him until nineteen days after the death; and although no claim is made that the delay was in' any way prejudicial to the defendant; and although the plaintiff claimed and *445pleaded the defendant waived the delay, and issue was joined thereupon and decided against the defendant. There is ample evidence in the record to support the plea of waiver, for example:
Defendant admits receiving the written notice within ■nineteen days, and that it did not inform the plaintiff that it was received nine days late, until its attorneys filed its ■answer, which was five months after it was received; about four months intervened between the date the notice was received and the date when payment was refused; defendant xeceived a letter from plaintiff’s attorneys on the day the notice was received, again notifying it of the death, and asking for necessary blanks to make proofs of death, and saying that no response had been received from the first notice, to which it replied, inclosing the blank requested, but saying nothing of the delay in the notice; in about two weeks another letter was received from plaintiff’s attorneys, saying they had sent the proof on the blank furnished, and asking for further blanks if further proof was required, and asking for further directions, to which no reply was made; about two weeks later the attorneys wrote another letter, ■saying they had no response to their last, and asking what the defendant had concluded to do as to paying the claim, to which it replied that it inclosed an additional blank, saying, you may answer the questions thereon, if you wish to do so, “this blank is being sent without waiving any of the ‘Order’s rights or defenses under the constitution, all rights are expressly reserved,” but saying nothing as to the first notice, nor anything as to what right under its constitution was not waived; all of the questions propounded in the blank sent referred to the time and cause of the death, but nothing as to the notice; the blank sent was filled out, and all the -questions answered and sworn to, and forwarded to defendant, its receipt was acknowledged by a letter saying, “This is to acknowledge receipt of your communication and inclosure of proof of alleged accidental death of William M. *446Boaz. We are inclosing a copy of his application as an accommodation only” (italics mine), thus indicating,that the death was not accidental; about this time the local executive committee recommended to the supreme council that nothing be paid on the claim, stating that, “after a thorough investigation of the claim,” the recommendation was made; about the time the suit was commenced the attorneys- for the plaintiff wrote that suit would be commenced, to which the defendant replied, that the Supreme Executive Committee had not disallowed the claim, and that undoubtedly it would be rejected, but saying nothing as to the notice, although the defendant had then had the notice in its hands for over three-months, and all the foregoing corespondence had taken place during that time, including the two proofs of death, one of which contained answers to the questions propounded by defendant concerning the cause of death.
The foregoing brief statement of the evidence of waiver, is, to my mind, conclusive that the defendant never intended to make any objection to the delay in the receipt of. the-notice, nor .to interpose the same as a defense, until the answer was filed by its attorneys; all the foregoing taking-place before such answer was made.
-The answer pleaded five special- defenses in addition to the general denial; that the death was caused by having-been or being under the influence of intoxicating liquor;: that the insured was, at the time of taking the arsenic, and at the time of his death, under the influence of intoxicating liquor; that death was caused by the intentional taking of drugs; that death was caused by suicide; and that notice-of the death was not received within the ten days provided in the by-laws. The first absolute, written refusal to pay seems to be contained in this answer, and the first four-special-defenses are upon other grounds than the delay in the notice; it has been held that such pleas, alone, waive-the want of notice, and certainly the delay in receiving it: Atlantic Ins. Co. v. Manning, 3 Colo., 224; Lambkin v. The *447Trav. Ins. Co., 11 Colo. Ap., 249, 52 Pac., 1040; Helvetia Ins. Co. v. Allis Co., id.; Hartford Fire Ins. Co. v. Hammond, 41 Colo., 323, 92 Pac., 686.
As to the principle of waiver, it seems to me that it makes no material difference whether the objection to,the proofs, or refusal to pay on other grounds, is made before, or after, the time in which the same are to be made; or, whether the defense is that the policy was not in force at the time of the death; it might be different as to the principle of estoppel, but not as to waiver; waiver is wholly a question of intent. This is thoroughly discussed and authorities cited in the case of Dezell v. Fid. Cas. Co., 176 Mo., 253, 75 S. W., 1102, referred to in the majority opinion. Time will not permit further discussion here.
The defenses, pleading other grounds, coupled with the •circumstances heretofore related, disclose, not only that the -defendant was not relying upon the delay in the notice, but was all along relying on the other defenses pleaded, and so forcibly presented in the evidence. It is true that a defendant may plead all the defenses he may have, but he must take the consequences of such pleading and the effect any defense may have upon any other defense, as a waiver, especially so, when coupled with other acts showing waiver, :as in the present case.
Furthermore, the answer and the evidence of the defendant disclose that it made a full investigation of the •cause of the death, and that it knew as much as to the facts as the plaintiff did, the principal question being whether ■such facts showed suicide. The evidence shows the defendant had notice in ample time, and made a full investigation. The supreme auditor testified that his knowledge as to when the notice was received was based entirely upon the rubber stamp impression on it, and that he had no personal recollection as to the matter; one of the members of the local executive committee testified that he knew of the death the day after it occurred; the defendant does not plead nor *448prove that it did not know of the death within the ten days, but only that the written notice was not received within that time; no claim is made in the pleading or the proof that the defendant was in any way prejudiced by'the delay, or prevented from making all desired investigation and inquiry; therefore the same rule applies as was specifically applied in the case of Dezell v. Fid. and Cas. Co., supra,, wherein the court said:
“The only purpose of the notice called for by the policy was to put the defendant on the inquiry. But when the defendant comes into court and shows by its answer that it knows as much about the facts as the plaintiff does and agrees with the plaintiff as to the facts, we are bound to-conclusively presume that it had notice in due time. This-presumption is not as a finding of the fact from the evidence which is the province of the jury, but as a judgment: upon the answer which is the province of the court.”
The majority opinion contains a learned discussion of the decisions on the subject of notice and the waiver thereof in insurance contracts, and it may satisfy the inquiring-mind of attorneys seeking legal relief from the payment of an agreed indemnity, but it does not seem to me to satisfy the mind of those benevolently inclined, nor does it satisfy the origin and purpose of the contract in this instance; this-contract of insurance was conceived in philanthropy, born in benevolent fraternity, and intended to carry out a beneficent plan, or design; but it is contested here with a rigidity that is foreign to its environments, and the majority opinion “casts it aside with the rigor of a Lykurgean nurse,” simply because the widow, guilty of no neglect on her own part, but through a misdirection of the letter by her attorneys, failed to get the written notice to the proper officer of the order within the time required. Such a forfeiture, so enforced, in the absence of any fraud or imposition, is not in harmony with the contract nor with the present administration of justice, especially among the members of this order, among *449whom, by their own purpose and design, justice and benevolence are reconciled and “the judge and the brother are one.”
Decided June 14th, A. D. 1915,
rehearing denied July 14th, A. D. 1915.
I am authorized to say that Hurlbut, J., concurs in this dissent.
